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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES - GENERAL

 

 

 

 

 

Case No. CV 19-9277 PLA Date May 4, 2021
Title Whitaker v. Sensu, Inc.
Present: Hon. Michael R. Wilner, U.S. Magistrate Judge
Veronica Piper n/a
Deputy Clerk Court Reporter / Recorder
Attorneys for Plaintiff: Attorneys for Defendant:
n/a n/a
Proceedings: ORDER TO SHOW CAUSE RE: SANCTIONS

1. Chief Judge Abrams referred this matter to Judge Wilner for settlement
proceedings. (Docket # 78.) After a number of preliminary calls with the parties’ lawyers,
Judge Wilner set the matter for a video settlement conference last month. The Court’s
order directly stated that “Mr. Whitaker, a principal of Sensu, and the lead trial attorneys
will all participate” in the hearing. (Docket # 83, 84.)

a The lawyers and the store owner appeared at the conference. Plaintiff
Whitaker — an experienced litigant in our district — did not. Moreover, during the video
conference, his attorney (Elliott Montgomery) was unable to contact his client to have him
participate.

3. The case did not settle during the video hearing with Judge Wilner or in
subsequent discussions between the lawyers.

4. Mr. Whitaker is ordered to show cause why he should not be personally
sanctioned for his failure to appear at the settlement conference. Plaintiff will submit a
sworn declaration explaining that failure by noon on Monday, May 10.

5. The Court will hold a video hearing on the OSC on Monday, May 17,
at 9:30 a.m. Mr, Whitaker and Mr. Montgomery will appear at the hearing.
Mr. Montgomery is not facing sanctions at present. However, he will explain to the Court
why he appeared at the conference as a “lead trial attorney” when he: (a) is not listed on

the Court’s docket for this case; and (b) did not sign the trial readiness status report
submitted to Chief Judge Abrams. (Docket # 88.)

6. No appearance will be required from the defense.

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